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 2    District of Arizona
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 4
      United States Courthouse
      405 W. Congress Street, Suite 4800                         Apr 02 2025
      Tucson, Arizona 85701                                      CLERK U.S. DISTRICT COURT
                                                                    DISTRICT OF ARIZONA
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 6    Attorneys for Plaintiff
 7                         IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE DISTRICT OF ARIZONA
 9
       United States of America,                                 CR-23-02118-RM (EJM)
10
                              Plaintiff,
11                                                               -INFORMATION
                                                                   - - - - - - -- - -
              vs.
12                                                               Violation: 18 U.S.C. § 4
13     Hugo Acosta-Osorio,                                       (Misprision of a Felony)
14                           Defendant.                                       (Felony)
15
             On or about January 21 , 2023 , in the District of Arizona, the defendant, HUGO
16
      ACOSTA-OSORIO, having knowledge of the actual commission of a felony cognizable
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      by a court of the United States, concealed and did not as soon as possible make known the
18
      same to some judge or other person in civil or military authority under the United States;
19
      in violation of Title 18, United States Code, Section 4.
20
             Dated this ZM         day of   A?', )      2025 .
21
22                                              TIMOTHY COURCHAINE
                                                United States Attorney
23                                              District o Arizo a
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25                                              M HANIELJ. WALTERS
                                                Assistant U.S. Attorney
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